Case 19-61608-grs     Doc 219    Filed 02/17/20 Entered 02/17/20 12:03:08         Desc Main
                                 Document     Page 1 of 5



                        UNITED STATES BANKRUPTCY COURT
                         EASTERN DISTRICT OF KENTUCKY
                                 LONDON DIVISION

                                           )
In re:                                     )       Chapter 11
                                           )
Americore Holdings, LLC, et al., 1         )       Case No. 19-61608-grs
                                           )
         Debtors.                          )       Jointly Administered
                                           )
                                           )       Honorable Gregory R. Schaaf
                                           )


                OFFICIAL COMMITTEE OF UNSECURED CREDITORS’
             (A) SUPPLEMENT TO MOTION FOR ORDER ESTABLISHING
           PROCEDURES TO CONDUCT RULE 2004 EXAMINATIONS AND
           (B) LIMITED OBJECTION TO PELORUS EQUITY GROUP, INC.’S
        MOTION FOR BANKRUPTCY RULE 2004 EXAMINATION OF GRANT
      WHITE, MICHAEL LEWITT, THE THIRD FRIDAY TOTAL RETURN FUND,
     L.P., AND THE DEBTORS AND PRODUCTION OF DOCUMENTS BY THEM

         The Official Committee of Unsecured Creditors (the “Committee”) (a) supplements

its Motion for Order Establishing Procedures to Conduct Rule 2004 Examinations [ECF

No. 188] (the “Procedures Motion”) and (b) objects on a limited basis (with respect to

timing and scheduling) to the Motion for Bankruptcy Rule 2004 Examination of Grant

White, Michael Lewitt, the Third Friday Return Fund, L.P., and the Debtors and Production

of Documents by Them [ECF No. 145] filed by Pelorus Equity Group, Inc. (the “Pelorus

2004 Motion”), and in support states as follows:



1
  The Debtors in these Chapter 11 cases are (with the last four digits of their federal tax
identification numbers in parentheses): Americore Holdings, LLC (0115); Americore Health, LLC
(6554); Americore Health Enterprises, LLC (3887); Ellwood Medical Center, LLC (1900); Ellwood
Medical Center Real Estate, LLC (8799); Ellwood Medical Center Operations, LLC (5283);
Pineville Medical Center, LLC (9435); Izard County Medical Center, LLC (3388); Success
Healthcare 2, LLC (8861); St. Alexius Properties, LLC (4610); and St. Alexius Hospital
Corporation #1 (2766).
                                               1
Case 19-61608-grs    Doc 219    Filed 02/17/20 Entered 02/17/20 12:03:08        Desc Main
                                Document     Page 2 of 5




                                   Notice of Hearing

      Please take notice that this supplement and limited
      objection will be heard by the Court on February 20, 2020, at
      9:00 a.m. in the Second Floor Courtroom, U.S. Bankruptcy
      Court, 100 East Vine Street, Lexington, KY 40507.

      1.     On February 13, 2020, Debtors consented to the appointment of Chapter

11 Trustee in these cases. Considering this development, the Committee requests that

2004 examinations not be permitted until after the appointment of a Chapter 11 Trustee

to provide the Chapter 11 Trustee the opportunity to participate in the examinations to the

extent the Chapter 11 Trustee chooses to do so.

      2.     In addition, consistent with the goals that the Committee seeks to advance

through its Procedures Motion of economy and efficiency, the Committee seeks to ensure

coordination and cooperation by parties seeking discovery with the Committee and the

Trustee in the scheduling of examinations.

      3.     The Committee asserts that such a procedure will minimize duplication of

examinations and the attendant costs associated therewith.

      4.     The Committee accordingly requests that the following procedure be added

as paragraph (2)(g) of the proposed order on the Procedures Motion:

                    2.
                           …

                          (g)    Cooperation. Any interested party seeking to
                    schedule an examination in the manner authorized by this Order
                    must first coordinate and cooperate in the scheduling of such
                    examination with counsel for the Committee and counsel for the
                    Chapter 11 Trustee.

                                             2
Case 19-61608-grs     Doc 219    Filed 02/17/20 Entered 02/17/20 12:03:08         Desc Main
                                 Document     Page 3 of 5



       5.     The Committee has no objection to Pelorus taking the Rule 2004

examinations of Grant White, Michael Lewitt, the Third Friday Total Return Fund, L.P.,

provided that the examinations are scheduled after the appointment of the Trustee and in

coordination with the Committee and the Trustee.

       WHEREFORE, the Committee requests that the Procedures Motion be

supplemented in the manner requested in this motion, that the Pelorus 2004 Motion be

limited as provided in this motion, and for such other relief as is just and proper.



                                  [signature page below]




                                             3
Case 19-61608-grs        Doc 219    Filed 02/17/20 Entered 02/17/20 12:03:08      Desc Main
                                    Document     Page 4 of 5



Dated: February 17, 2020                             Nelson Mullins Riley & Scarborough LLP2
                                                     Proposed Counsel for Committee

                                                     Two South Biscayne Boulevard
                                                     One Biscayne Tower, 21st Floor
                                                     Miami, FL 33131
                                                     Ph. 305-373-9400 | Fax 305-995-6416

                                                     100 S.E. 3rd Avenue, Suite 2700
                                                     Fort Lauderdale, FL 33394
                                                     Ph. 954-764-7060 | Fax 954-761-8135

                                                     By: /s/ Gary M. Freedman
                                                      Frank P. Terzo
                                                      Florida Bar No. 906263
                                                      Frank.Terzo@nelsonmullins.com
                                                      Gary M. Freedman
                                                      Florida Bar No. 727260
                                                      Gary.Freedman@nelsonmullins.com
                                                      Michael D. Lessne
                                                      Florida Bar No. 73881
                                                      Michael.Lessne@nelsonmullins.com

                                                 -and-

                                                     FROST BROWN TODD LLC3
                                                     Proposed Co-Counsel for Committee

                                                     By: /s/ Adam R. Kegley
                                                     Adam R. Kegley
                                                     250 West Main Street, Suite 2800
                                                     Lexington, Kentucky 40507
                                                     Tel: (859) 231-0000
                                                     Fax: (859) 231-0011
                                                     E-mail: akegley@fbtlaw.com




2
 Attorneys Freedman, Terzo and Lessne are admitted pro hac vice [ECF Nos. 200, 201 and 202].
Nelson Mullins Riley & Scarborough LLP’s application for employment is pending [ECF No. 185].
3
    Frost Brown Todd’s application for employment is forthcoming.
                                                4
Case 19-61608-grs           Doc 219   Filed 02/17/20 Entered 02/17/20 12:03:08     Desc Main
                                      Document     Page 5 of 5



                                   CERTIFICATE OF SERVICE

         I hereby certify that on February 17, 2020, I electronically filed the foregoing with

the clerk of the court using CM/ECF, which is serving the document via transmission of

Notices of Electronic Filing to those counsel or parties who are authorized to receive such

notices.

                                                By: /s/ Adam R. Kegley
                                                    Adam R. Kegley




0000000.0001531 4823-6043-5893v2




                                                5
